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June 14, 2023
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Hon. Jed S. Rakoff
United States District Court
Southern District of New York
Daniel Patrick Moynihan United States Courthouse
500 Pearl St., New York, NY 10007-1312

Re:     Gov’t of the U.S. Virgin Islands v. JPMorgan Chase Bank, N.A., Case No. 1:22-cv-
        10904-JSR (S.D.N.Y.) – Letter Brief on USVI’s Improper Confidentiality Designations

Dear Judge Rakoff:

       JPMorgan Chase Bank, N.A. (“JPMC”) has repeatedly sought the consent of the
Government of the United States Virgin Islands (“USVI”) to file its May 23 Opposition to USVI’s
Motion to Strike publicly. Yet, although USVI lacks any basis to maintain confidentiality over
the exhibits cited in that filing, it has (again) refused to withdraw its confidentiality designations,
thereby requiring this Court’s intervention. Specifically, USVI asserts confidentiality over


     . See Dkt. 160, Exs. 8, 39-52, & 54-60. As before, USVI has no basis—beyond a desire to
hide the embarrassing information in these documents from the public—to assert confidentiality.

        The documents USVI seeks to shield are public records, produced in response to JPMC’s
document requests, that show
                  . See Dkt. 159, pp. 6-7. USVI has not identified any basis to designate these
materials confidential under the Protective Order. See Dkt. 15, ¶2 (listing the limited categories
of information that may be designated Confidential). They do not contain confidential financial
information,1 information reported to law enforcement, materials related to ownership of a non-
public company, trade secrets, information of an intimate nature, Bank Secrecy Act materials, or
information designated Confidential Supervisory Information by a financial regulator. Id.

         Instead, USVI asserts that exhibits must be kept confidential under an inapplicable federal
statute, 26 U.S.C. § 6103, that governs the confidentiality of federal tax returns and the information
therein. As an initial matter, this statute does not apply to the documents USVI seeks to withhold,
which were                                                                        . It is the law of this

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        USVI has not raised this provision and, while these documents may contain “financial
information” broadly defined, it is not of the type contemplated by the Protective Order. Id. ¶2(a)
(listing “profitability reports or estimates, percentage fees, design fees, royalty rates, minimum
guarantee payments, sales reports and sales margins” as examples of the type of financial
information that might be kept confidential). It is also not financial information belonging to the
USVI, and the only person who might plausibly be concerned about keeping this information
confidential, Jeffrey Epstein, is both unworthy of the concern that USVI shows and long deceased.
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